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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


IN RE: TESTOSTERONE                        )      MDL No. 2545
REPLACEMENT THERAPY                        )
PRODUCTS LIABILITY LITIGATION              )      Case No. 14 C 1748


                       CASE MANAGEMENT ORDER NO. 78
             (Supplementation / enhancement of plaintiff's fact sheets;
                   reconfiguration of bellwether trial schedules;
                        meetings with settlement master)

       This MDL proceeding, which involves (with one exception) products liability suits

against several manufacturers of testosterone replacement therapy (TRT) drugs, has

been before the Court for just under three and one-half years. General fact discovery is

complete or virtually complete. "Bellwether" trial schedules have been established for

suits against all of the defendants, including cases in which the plaintiff alleges that he

used more than one defendant's product. This year, the Court has conducted two

bellwether trials involving AbbVie (which has the largest number of pending cases), an

Illinois state court conducted a trial in a similar case involving AbbVie, and this Court is

about to start a third bellwether trial involving a different defendant, Auxilium. Additional

bellwether trials are scheduled at regular intervals through January 2019, and some trial

dates remain to be set. The Court has, thus far, deferred to defense counsel in not

setting trial dates that overlap with trial dates in state court cases pending, for the most

part, in Illinois and Pennsylvania.

       On a parallel track, the Court has appointed a settlement master, attorney Randi

Ellis, who is tasked with meeting with the parties regularly regarding the prospects for

settlement of some or all of the cases involving particular defendants.
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       In this order, the Court first addresses two points that are, in the Court's view, two

sides of the same coin. The first is the need for enhanced information regarding the

claims of individual plaintiffs—specifically, disclosures beyond those provided in the

current version of the plaintiff's fact sheet. The second is the relatively slow pace of the

current schedules for bellwether trials in light of the overall size and scope of the MDL

and the amount of time it has been pending. The Court is, via this order, directing the

parties to confer promptly and make an appropriate proposal or proposals for

modification of existing case management orders on these subjects.

       Finally, at the end of the order, the Court will address various points regarding

the parties' meetings with the court-appointed settlement master. Ms. Ellis has made

considerable progress, but the Court believes it is appropriate to enhance the tools

available to her and the parties in connection with her work.

1.     Plaintiff's fact sheets

       Given the current status of proceedings, the Court believes it is appropriate to

require the plaintiffs to provide additional information regarding their claims, beyond

what they have been required to produce under the current regime of plaintiff's fact

sheets. The Court continues to believe that a "Lone Pine" order—requiring plaintiffs to

produce at an early date expert reports or the equivalent—is not called for at this stage.

But requiring additional factual information will enable both sides to evaluate the

pending cases both individually and in the aggregate. In addition, the current fact sheet

process, together with the bellwether selection process, has already resulted in weeding

out cases that lack merit or in which the plaintiff is not able or willing to prosecute the

case in a reasonably diligent way. The Court anticipates that enhanced requirements to



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provide basic information supporting the plaintiffs' claims will result in further appropriate

winnowing of the cases that remain pending.

       The Court directs the parties to promptly meet and confer and to propose a case

management order requiring supplementation or enhancement of the information

required from all plaintiffs. The Court will leave the specifics of this proposal to the

parties in the first instance, but any proposal should include a requirement for all

plaintiffs to provide information and documentation regarding the particular TRT

product(s) they used, when, and how frequently, as well as information and

documentation regarding the date and nature of any injury the plaintiff claims to have

suffered as a result of TRT usage. Any proposal should also include a reasonably

prompt deadline for production of this information following entry of the relevant case

management order. Finally, the Court anticipates that the process of ensuring

compliance and sanctioning non-compliance should be shortened and simplified from

that contemplated in the current version of Case Management Order 9.

2.     Bellwether trials

       The Court has determined that the schedule for bellwether trials should be

expanded and accelerated. This will enhance the likelihood that the process of working

up and trying bellwether cases and will provide the parties, within a reasonably prompt

time frame, valuable information regarding the viability and value of the cases still

pending in the MDL. It will also advance the overall progress of the MDL in a way that

will lead to its conclusion within a reasonable period of time.

       Acceleration of the trial schedule almost certainly will require the parties to

enlarge the pools for selection of bellwether cases and to work up many more cases



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than those currently designated for bellwether trials. 1 This will require the parties and

counsel to do more work, but this is a reasonable imposition given the overall size and

scope of the MDL and the length of time it has been pending.

        Acceleration of the trial schedule also will entail advancing and shortening the

existing schedules for working up bellwether trial cases involving a number of the

defendants, including the "mixed-use" cases. Again, the Court believes that this is a

reasonable imposition given the overall size and scope of the MDL and the length of

time it has been pending.

        The Court anticipates continuing to set strict time limits on the length of any given

trial, likely shorter than those set for the most recent trials. The Court also anticipates

that there will be shorter intervals between the trial dates in cases to be tried by the

undersigned judge. In addition, the Court is contemplating asking other judges to try

cases so that multiple cases, including multiple cases involving a particular defendant,

can be tried at the same time. Finally, the Court also is considering the possibility of

multiple-plaintiff trials. The parties' proposals should include their respective positions

on this last point, including any relevant legal authorities.

        The Court directs the parties to promptly meet and confer and propose one or

more case management orders that will increase the number of cases available for

bellwether trials, accelerate the schedule for selecting and preparing bellwether cases,

enable multiple additional cases to be ready for trial by no later than June 1, 2017, and



1 It is conceivable that this can be accomplished, at least in part, via the cases that will
be or are being selected for the mixed-use bellwether pool. In this regard, the Court
anticipates that any case selected for that pool that might otherwise drop out because it
is not a true mixed-use case will be retained as a potential single-defendant bellwether
trial case.
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advance the current schedule of dates for bellwether trials.

3.     Settlement process

       Henceforth, each defendant and the appropriate plaintiffs' steering committee

(PSC) representatives must meet in person with the settlement master no less than

once every 30 days, or more frequently as requested by the settlement master. On the

plaintiffs' side, no more than two persons should be designated to attend. On the

defendants' side, each of these meetings must be attended by the defendant's

designated settlement counsel as well as a designated in-house counsel at the vice

president level or above with decision-making authority, along with any other in-house

attorneys the particular defendant wishes to participate. In this regard, the in-house

settlement counsel must be a single person designated for this purpose, not alternating

representatives, and must have full authority to settle all pending cases involving that

defendant.

       The settlement master will provide monthly written reports to the Court regarding

these meetings and the status of settlement negotiations. To preserve the

confidentiality of the settlement process, these reports will be prepared on a defendant-

by-defendant basis, and reports regarding a particular defendant will be provided by the

settlement master only to the PSC settlement representatives, designated settlement

counsel for that defendant, and the Court.

       The Court also anticipates holding, at each future case management conference

held after December 1, 2017, brief in camera meetings on a defendant-by-defendant

basis including the settlement master, the PSC settlement representatives, and the

designated inside and outside settlement counsel for each defendant. Any request to



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be relieved of this requirement must be made by a written request to the Court no later

than 14 days before the case management conference.

4.    Timing of proposal

      The proposals contemplated by this case management order are to be included

in a joint status report to be filed by no later than November 22, 2017. A case

management conference for the exclusive purpose of dealing with these proposals is

set for November 30, 2017 at 11:00 a.m.

Date: November 4, 2017

                                               ________________________________
                                                    MATTHEW F. KENNELLY
                                                    United States District Judge




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